                           EXHIBIT 6




Case 3:17-cv-00902 Document 399-6 Filed 06/02/23 Page 1 of 13 PageID #: 12953
               UNITED STATES of AMERICA
                                     vs
METHODIST LE BONHEUR HEALTHCARE, et al.




                      JEFFREY LIEBMAN
                        September 27, 2022




Case 3:17-cv-00902 Document 399-6 Filed 06/02/23 Page 2 of 13 PageID #: 12954
                                                  Page 69                                                      Page 71
·1   Q.· · ·Do you know if Methodist ever paid West more     ·1   services of the entire cancer service line as well
·2   compensation than was set forth in a fair market        ·2   as concerns about the physicians being paid at the
·3   value opinion?                                          ·3   90th percentile or above and a concern of what would
·4   · · · · · · MR. VROON:· Object to the form.             ·4   happen if 340B funding was ever cut, diminished, or
·5   · · · · · · THE WITNESS:· Again, I don't know           ·5   something happened to it.
·6   what -- I didn't even know they got a fair market       ·6   Q.· · ·What's your understanding of how Methodist
·7   value opinion, so I'd have to say no.                   ·7   paid West under the management services agreement?
·8   BY MR. CHENERY:                                         ·8   A.· · ·I don't have any knowledge of that.
·9   Q.· · ·Do you have any factual basis for saying the     ·9   Q.· · ·What's your understanding of how Methodist
10    fair market value opinions are unreliable?             10    paid West under the professional services agreement?
11    · · · · · · MR. VROON:· Object to the form.            11    A.· · ·I didn't see their professional services
12    · · · · · · THE WITNESS:· I have never seen the fair   12    agreement either.
13    market value opinions.                                 13    Q.· · ·So what specifically were the concerns that
14    BY MR. CHENERY:                                        14    were raised at this dinner about West's
15    Q.· · ·I know you said you haven't seen the            15    compensation?
16    affiliation agreements.                                16    A.· · ·Well, the presentations done by the
17    · · · ·Are you aware that there was a management       17    consultants indicated that the driving force for the
18    services agreement in place between the parties?       18    growth development of the cancer service line and
19    A.· · ·I became aware during a meeting where they      19    the relationship between West Clinic and Methodist
20    were discussing what to do in the future.              20    is heavily reliant -- excuse me -- on 340B revenue
21    Q.· · ·Who was discussing what to do in the future?    21    and that there was also an inability and -- an
22    A.· · ·There was a meeting with Erich Mounce -- I      22    ability for the West Clinic to move referrals as
23    believe it came up a couple of times -- a few times.   23    they grew and developed.· And it was even said there
24    So one at these cancer meetings.· They had these       24    that they could do even more of that as the 340B and
25    cancer strategy dinner meetings, and it came up        25    as the programs grew.


                                                  Page 70                                                      Page 72
·1   there by their consultants.· I think it was             ·1   Q.· · ·Where were they moving referrals?
·2   PricewaterhouseCoopers.· Several of the doctors         ·2   A.· · ·They were moving referrals into the Methodist
·3   mentioned it.· Erich Mounce mentioned it.               ·3   Le Bonheur Healthcare System.
·4   · · · ·There was also a subset of that where there      ·4   Q.· · ·Where were they moving those referrals from?
·5   was a meeting of Erich Mounce, myself -- Dr. Stern      ·5   A.· · ·Prior to an affiliation agreement, for
·6   was there, and maybe a couple others -- that also       ·6   decades, their primary hospital was Baptist.· Their
·7   described what do you do on a going-forward basis       ·7   original location was basically across the street.
·8   because there was a management services agreement       ·8   It's not quite across the street.· It's sort of
·9   that had to be renegotiated or redone.                  ·9   kitty-corner from a big Baptist facility that's in
10    Q.· · ·So this meeting was about renegotiating the     10    the eastern edge of Memphis.
11    existing management services agreement?                11    Q.· · ·And how do you know that?
12    A.· · ·So there were presentations and discussions     12    A.· · ·I visited that facility.
13    about whether the existing was -- and then there was   13    Q.· · ·But how do you know that for decades that had
14    a -- there were a few meetings about we -- it's        14    been West's primary place of referring?
15    coming up for renewal; it has to be negotiated.· It    15    A.· · ·Dr. Schwartzberg told me that.
16    was going to be up, I think, within a year or          16    Q.· · ·What did he tell you about that?
17    something, or two years, and they wanted to get        17    A.· · ·He told me that they were active participants
18    started early.                                         18    in the Baptist healthcare system for a long time.
19    Q.· · ·Do you know when that meeting was?              19    They were very active, involved in the medical staff
20    A.· · ·Boy, I -- I don't -- I don't remember.          20    dealings, whatever that meant there, that they were
21    Q.· · ·At that meeting, was there discussion about     21    out on that location for a long time.
22    management services that had been provided in the      22    Q.· · ·And what did Dr. Schwartzberg tell you about
23    past under the existing management services            23    moving referrals to Methodist?
24    agreement?                                             24    A.· · ·So that comment was made at one of those
25    A.· · ·There was a generic mention of the management   25    dinner meetings, saying that there was more



       Case 3:17-cv-00902 Document 399-6
                  Elite-Brentwood        Filed 06/02/23
                                   Reporting    ServicesPage 3 of 13 PageID #: 12955
                                                          * (865)329-9919                                      69..72
                            www.EliteReportingServices.com                                                                YVer1f
                                                  Page 73                                                      Page 75
·1   potential for growth and development of the cancer      ·1   A.· · ·They were brought in to facilitate a new
·2   oncology service line because they could even do --     ·2   agreement, I believe, and to talk -- outline a new
·3   do an even better job of moving referrals.              ·3   strategy going forward for the relationship between
·4   Q.· · ·And who made that comment?                       ·4   Methodist, University of Tennessee, and the West
·5   A.· · ·Dr. Schwartzberg.                                ·5   Clinic.
·6   Q.· · ·Did Dr. Schwartzberg ever say West was moving    ·6   Q.· · ·And I want to circle back to the management
·7   referrals due to an increase in compensation?           ·7   services.
·8   A.· · ·I don't remember that being said.                ·8   · · · ·At this dinner meeting with
·9   Q.· · ·What was the concern you referenced to being     ·9   PricewaterhouseCoopers, were there concerns raised
10    paid at or above 90 percent?                           10    relative to the management services that West would
11    A.· · ·Erich Mounce had raised the concern that the    11    provide under the affiliation?
12    physician -- the medical oncology income had to stay   12    · · · · · · MR. VROON:· Object to the form.
13    at the 90th percentile or above if they were going     13    · · · · · · THE WITNESS:· The -- the issue that was
14    to go forward with a new kind of affiliation.          14    raised was simply -- it wasn't an issue -- it was
15    Q.· · ·And what is that 90 percent of?                 15    the statement that there was a management services
16    A.· · ·Well, I -- there are different models you can   16    agreement and that the West Clinic was paid for
17    use, but it could either be MGMA or Pinnacle or HHI.   17    management services of the oncology service line.
18    There are databases that show the income levels for    18    BY MR. CHENERY:
19    physicians across the country.                         19    Q.· · ·And so the concern was that West was paid for
20    Q.· · ·And do you know which one Mr. Mounce was        20    managing the oncology service line?
21    referring to in that meeting?                          21    · · · · · · MR. VROON:· Object to the form.
22    A.· · ·I do not.                                       22    · · · · · · THE WITNESS:· Let me -- let me dissect
23    Q.· · ·Did you have concerns about the West doctors    23    that a little bit.· You mean my concern or the
24    being compensated at 90 percent or above?              24    concern of the group?
25    A.· · ·I had concerns about providing any sort of      25    //


                                                  Page 74                                                      Page 76
·1   guarantee at a specific level that would be             ·1   BY MR. CHENERY:
·2   unrelated to any sort of patient care activity.         ·2   Q.· · ·Did you have a concern?
·3   Q.· · ·What specifically are those concerns?            ·3   A.· · ·I did.
·4   A.· · ·It's my understanding that you can't -- you      ·4   Q.· · ·What was your concern?
·5   should only pay doctors related to their                ·5   A.· · ·I didn't see any management services being
·6   professional performance, that you shouldn't pay        ·6   done at Methodist University Hospital.
·7   them X when they only provide clinical services at      ·7   Q.· · ·Do you know what management services were
·8   1/4 of X.                                               ·8   supposed to be provided under the management
·9   Q.· · ·Do you know if the West doctors were             ·9   services agreement?
10    compensated other than based on their performance      10    A.· · ·I didn't see the management services
11    during the affiliation?                                11    agreement.
12    · · · · · · MR. VROON:· Object to the form.            12    Q.· · ·Regardless of whether you saw the agreement,
13    · · · · · · THE WITNESS:· I don't know their           13    do you know what services were supposed to be
14    individual compensation schedules.                     14    provided under it?
15    BY MR. CHENERY:                                        15    A.· · ·I -- I kept hearing all inpatient and
16    Q.· · ·Do you know if the West doctors generally       16    outpatient activities were to be supervised, that
17    were compensated otherwise than based on their         17    they were going to help with regulatory issues,
18    performance?                                           18    training and education of staff, long-term planning,
19    · · · · · · MR. VROON:· Object to the form.            19    input and advice on leases, purchasing of things,
20    · · · · · · THE WITNESS:· I -- I don't know.           20    cutting-edge research and technologies.· Those are
21    BY MR. CHENERY:                                        21    the things I heard talked about.
22    Q.· · ·Do you know who the consultants were that       22    Q.· · ·Who did you hear talk about that?
23    were presenting at that meeting?                       23    A.· · ·I heard that in a variety of doctors in
24    A.· · ·PricewaterhouseCooper.                          24    hallway conversations and at different meetings.
25    Q.· · ·What was the context of their presentation?     25    Q.· · ·Which doctors?



       Case 3:17-cv-00902 Document 399-6
                  Elite-Brentwood        Filed 06/02/23
                                   Reporting    ServicesPage 4 of 13 PageID #: 12956
                                                          * (865)329-9919                                      73..76
                            www.EliteReportingServices.com                                                                YVer1f
                                                    Page 85                                                           Page 87
·1   "Accepted, Dr. Michael Martin, pharmacy at West          ·1     · · · · · · · · E R R A T A· P A G E
                                                              ·2     · · · · · · · ·I, JEFFREY H. LIEBMAN, M.D., having
·2   Clinic and MUH with Jeff Liebman."                       · ·   ·read the foregoing deposition, pages 1 through 86,
                                                              ·3     do hereby certify said testimony is a true and
·3   · · · ·Do you think this may have been a different       · ·   ·accurate transcript, with the following changes (if
                                                              ·4     any):
·4   meeting with Mike Martin than the one that's             ·5
·5   referenced in Exhibit 246?                               · ·   ·PAGE· LINE· · · · · SHOULD HAVE BEEN
                                                              ·6
·6   · · · · · · MR. VROON:· Object to the form.              · ·   ·_____ _____· · · · ·_______________________________
                                                              ·7
·7   · · · · · · THE WITNESS:· I -- I just don't              · ·   ·_____ _____· · · · ·_______________________________
·8   remember.                                                ·8
                                                              · ·   ·_____ _____· · · · ·_______________________________
·9   · · · · · · MR. CHENERY:· Okay.                          ·9
                                                              · ·   ·_____ _____· · · · ·_______________________________
10    · · · · · · MR. VROON:· Taylor, I'm sorry, but I        10
                                                              · ·   ·_____ _____· · · · ·_______________________________
11    need just one minute.· I need to take a quick break     11
12    just a minute.· I'm sorry to interrupt you, though,     · ·   ·_____ _____· · · · ·_______________________________
                                                              12
13    okay?                                                   · ·   ·_____ _____· · · · ·_______________________________
                                                              13
14    · · · · · · MR. CHENERY:· Sure.· Go off the record.     · ·   ·_____ _____· · · · ·_______________________________
15    · · · · · · VIDEO TECHNICIAN:· Going off the record     14
                                                              · ·   ·_____ _____· · · · ·_______________________________
16    at 11:17 a.m.                                           15
                                                              · ·   ·_____ _____· · · · ·_______________________________
17    · · · · · · (An off-the-record discussion was held.)    16
                                                              · ·   ·_____ _____· · · · ·_______________________________
18                                                            17
19   · · · · · · MR. CHENERY:· The deposition of              · ·   ·_____ _____· · · · ·_______________________________
                                                              18
20   Mr. Liebman has been suspended for today due to a        · ·   ·_____ _____· · · · ·_______________________________
                                                              19
21   potential COVID 19 exposure.· Methodist reserves its     20
22   right to reconvene and continue Mr. Liebman's            · ·
                                                              21
                                                                    ·· · · · · · · · · · · · ·__________________________
                                                                     · · · · · · · · · · · · ·JEFFREY LIEBMAN
23   deposition at a future date.                             22
                                                              · ·   ·_______________________________________
24   · · · · · · MR. VROON:· Yeah.· We -- we regret that      23     Notary Public
                                                              24     My Commission Expires: ________________
25   there was a potential COVID exposure, and we're          25     Reported by: JULIE K. LYLE, LCR


                                                    Page 86                                                           Page 88
                                                              ·1     · · · · · · · ·REPORTER'S CERTIFICATE
·1   doing this as a precaution for Mr. Liebman in
                                                              ·2
·2   particular and what's best for him medically, and so     ·3     STATE OF TENNESSEE
·3   we are suspending the deposition allowing him to         ·4     COUNTY OF DAVIDSON
·4   return to Boston under the care of his doctors, as       ·5
                                                              ·6     · · · · · I, JULIE K. LYLE, Licensed Court
·5   needed.· Okay?                                           ·7     Reporter, with offices in Hermitage, Tennessee,
·6   · · · · · · And we're sorry about the inconvenience.     ·8     hereby certify that I reported the foregoing
·7   Thank you.                                               ·9     deposition of JEFFREY LIEBMAN, by machine shorthand
                                                              10     to the best of my skills and abilities, and
·8   · · · · · · ·FURTHER DEPONENT SAITH NOT                  11     thereafter the same was reduced to typewritten form
·9   · · · · (Proceedings adjourned at 11:55 a.m.)            12     by me.· I am not related to any of the parties
10                                                            13     named herein, nor their counsel, and have no
                                                              14     interest, financial or otherwise, in the outcome of
11                                                            15     the proceedings.
12                                                            16     · · · · · I further certify that in order for this
13                                                            · ·   ·document to be considered a true and correct copy,
                                                              17     it must bear my original signature, and that any
14                                                            · ·   ·unauthorized reproduction in whole or in part
15                                                            18     and/or transfer of this document is not authorized,
16                                                            · ·   ·will not be considered authentic, and will be in
                                                              19     violation of Tennessee Code Annotated 39-14-104,
17                                                            · ·   ·Theft of Services.
18                                                            20
19                                                            21
                                                              · ·   ··   ·   ·   ·_________________________________
20
                                                              22     ·   ·   ·   ·JULIE K. LYLE, LCR
21                                                            · ·   ··   ·   ·   ·Elite Reporting Services
22                                                            23     ·   ·   ·   ·Associate Reporter
23                                                            · ·   ··   ·   ·   ·Notary Public State of Tennessee
                                                              24
24                                                            · ·   ·· · · ·LCR #850 - Expires: 6/30/24
25                                                            25




       Case 3:17-cv-00902 Document 399-6
                  Elite-Brentwood        Filed 06/02/23
                                   Reporting    ServicesPage 5 of 13 PageID #: 12957
                                                          * (865)329-9919                                             85..88
                            www.EliteReportingServices.com
               UNITED STATES of AMERICA
                                     vs
METHODIST LE BONHEUR HEALTHCARE, et al.


                                Volume 2

                      JEFFREY LIEBMAN
                          January 27, 2023




Case 3:17-cv-00902 Document 399-6 Filed 06/02/23 Page 6 of 13 PageID #: 12958
                                                     Volume 2

                                                 Page 117                                                     Page 119
·1   Q.· · ·And you don't know if Methodist owned them?      ·1   A.· · ·I was concerned the 340B revenues were being
·2   A.· · ·I do not.                                        ·2   used to circle back and fund economic relationships
·3   Q.· · ·Who informed you that West did not pay rent      ·3   or economic benefit to the private practice group
·4   at the cancer center location you're referring to?      ·4   and not being directed appropriately.
·5   A.· · ·I received a -- it was either an email or a      ·5   Q.· · ·What was your basis for that concern?
·6   text from a woman who worked inside the corporate       ·6   A.· · ·Well, I had sat through some meetings where
·7   office.· It had to do with physician groups.            ·7   it came up various times from outside consultants,
·8   Q.· · ·From what corporate office is that?              ·8   from other people, how 340B was the economic basis
·9   A.· · ·Methodist Le Bonheur.                            ·9   for the relationship between The West Clinic and the
10    Q.· · ·What was her name?                              10    Methodist system.
11    A.· · ·I think it might have been Mary Gay Miller,     11    Q.· · ·And what do you mean that "revenues were used
12    but I -- I'm -- I'm not sure of her last name.         12    to fund economic relationships"?
13    Q.· · ·What was her position?                          13    A.· · ·Well, what I meant was that the profits from
14    A.· · ·She was a -- she was a person involved with     14    340B were being funneled in ways to enhance the
15    the oversight and main -- and running of physician     15    profitability as well as provide additional
16    groups and sort of a physician liaison with the        16    resources to The West Clinic.
17    medical community.                                     17    Q.· · ·What do you mean, profits were funneled?
18    Q.· · ·What did she tell you in that email or text?    18    A.· · ·Well, the 340B profits, the way -- the 340B
19    A.· · ·She told me that The West Clinic did not pay    19    profits and money was the basis by which The West
20    rent.                                                  20    Clinic relationship was financed as well as
21    Q.· · ·What was your response to that?                 21    developing services that were beneficial to the
22    A.· · ·I was surprised.                                22    physician group, which then in turn it changed their
23    Q.· · ·Did you follow up with anyone about that?       23    referral patterns and sent more patients to the
24    A.· · ·I don't recall who I spoke to about that. I     24    Methodist system.
25    know it was an issue because I was trying to plan      25    Q.· · ·You said profits were funneled.· I'm just


                                                 Page 118                                                     Page 120
·1   space for an expansion on the Methodist University      ·1   trying to figure out how you know those profits were
·2   Hospital campus where I was intending to charge them    ·2   spent anywhere.
·3   rent as a private practice group.                       ·3   A.· · ·Well, the -- there were several meetings
·4   Q.· · ·Do you remember speaking with anyone about       ·4   where the discussion of 340B came up and the
·5   the rent issue that Mary Gay Miller identified?         ·5   physicians themselves, as well as their leaders
·6   A.· · ·I don't remember.                                ·6   administratively, made it clear that the basis of
·7   Q.· · ·Did anyone else other than Mary Gay Miller       ·7   the relationship was they wanted access to 340B
·8   ever raise a concern about rent with you?               ·8   funding and if that went away, then they would
·9   A.· · ·Well -- I'm sorry, could you rephrase that?      ·9   either leave or have to get certain income
10    You said, "raise a concern"?· I don't believe --       10    guarantees from the Methodist system.
11    Q.· · ·Right.                                          11    Q.· · ·What do you mean by 340B funding?
12    A.· · ·-- she raised a concern.· I asked her because   12    A.· · ·Well, 340B is a pharmaceutical discount
13    I was trying to plan a new facility.                   13    program provided to disproportionate shared
14    Q.· · ·So you asked Mary Gay Miller about whether      14    hospitals where the hospitals get a steep discount.
15    West was paying Methodist rent at the cancer center?   15    And, therefore, the 340B reimbursement changes the
16    A.· · ·No, I actually asked what rent were they        16    cost change for how much the drugs cost so those
17    paying.                                                17    encounters become much more profitable.
18    Q.· · ·Okay.· So her email or text was in response     18    Q.· · ·But you understand it's a -- a discount on
19    to a question that you asked her?                      19    the drug price, correct?
20    A.· · ·That's correct.                                 20    A.· · ·I -- I -- I believe it is a discounted drug
21    Q.· · ·Did you ever ask anyone else about whether      21    program, but I don't -- I can't -- I'm not an expert
22    West was paying rent at the cancer center?             22    on 340B funding.· But I do know it leads to enhanced
23    A.· · ·I don't remember.                               23    profitability for the hospitals.
24    Q.· · ·What was your concern related to the misuse     24    Q.· · ·Is it your understanding that under 340B,
25    of 340 -- the 340B program?                            25    Methodist would be receiving funds?



       Case 3:17-cv-00902 Document 399-6
                  Elite-Brentwood        Filed 06/02/23
                                   Reporting    ServicesPage 7 of 13 PageID #: 12959 117..120
                                                          * (615)595-0073
                            www.EliteReportingServices.com                                                                YVer1f
                                                     Volume 2

                                                 Page 121                                                     Page 123
·1   A.· · ·Methodist would pay less for the drugs.          ·1   BY MR. CHENERY:
·2   Q.· · ·So 340B would not cause Methodist to receive     ·2   Q.· · ·How do you understand -- or do you -- let me
·3   funds?                                                  ·3   start over.
·4   · · · · · · MR. VROON:· Object to the form of the       ·4   · · · ·Is it your understanding that The West
·5   question.· He just -- object to the form, misstating    ·5   Clinic received funds under the 340B drug pricing
·6   his testimony.                                          ·6   program?
·7   · · · · · · THE WITNESS:· Could you repeat the          ·7   A.· · ·I don't know how The West Clinic received
·8   question?                                               ·8   their funds.
·9   BY MR. CHENERY:                                         ·9   Q.· · ·So what's your understanding of how the 340B
10    Q.· · ·Is it your understanding that Methodist would   10    program financed West's relationship with Methodist?
11    receive funds as part of the 340B drug pricing         11    A.· · ·The 340B funding, again, according to what I
12    program?                                               12    heard at these meetings, was the basis by which the
13    A.· · ·Methodist receives funds whenever they          13    reimbursement to The West Clinic was designed, that
14    provide chemotherapy to patients, as does other        14    is within the underpinnings of the relationship, the
15    hospitals.                                             15    financial relationship.
16    Q.· · ·Right.· Wouldn't those funds be for clinical    16    Q.· · ·And what reimbursements are you referring to?
17    services provided?                                     17    A.· · ·Well, what I'm talking about is however the
18    · · · · · · MR. VROON:· Object to the form.            18    doctors or the group was getting paid.
19    · · · · · · THE WITNESS:· It certainly would be for    19    Q.· · ·And what's your understanding of how the
20    clinical services provided, yes.                       20    doctors or the group were getting paid?
21    BY MR. CHENERY:                                        21    A.· · ·I don't have the detail on that.
22    Q.· · ·Is it your understanding that any party         22    Q.· · ·Do you know how the doctors or the group were
23    transmits funds to Methodist as part of the 340B       23    getting paid?
24    drug pricing program?                                  24    A.· · ·I don't -- I'm sorry.· You mean today or back
25    · · · · · · MR. VROON:· Objection to form.             25    then or -- or what -- what is your question?


                                                 Page 122                                                     Page 124
·1   · · · · · · THE WITNESS:· I'm sorry.· I don't know      ·1   Q.· · ·During your time at Methodist, do you
·2   what you mean by "any party."                           ·2   understand how the doctors or the group were getting
·3   BY MR. CHENERY:                                         ·3   paid?
·4   Q.· · ·Any entity.                                      ·4   A.· · ·The financial relationship that they get
·5   · · · · · · MR. VROON:· Objection to form.              ·5   carved out was not through the hospital but through
·6   · · · · · · THE WITNESS:· Could you repeat the          ·6   the corporate office.
·7   question again?· I want to make sure I understand --    ·7   Q.· · ·But during your time at Methodist do you
·8   give you my best answer.                                ·8   understand how the doctors or West Clinic were
·9   · · · · · · MR. CHENERY:· Terri, could you read that    ·9   getting paid?
10    back, please.                                          10    A.· · ·No.
11    · · · · · · (The requested record was read back by     11    · · · · · · MR. VROON:· Object to the form.
12    the court reporter.)                                   12    BY MR. CHENERY:
13    · · · · · · THE WITNESS:· Again, I -- when you say     13    Q.· · ·Is the 340B drug pricing program limited to
14    any person, the reimbursement they have is through     14    oncology services?
15    usually insurance companies and government             15    A.· · ·I don't know.
16    reimbursement.                                         16    Q.· · ·Who was present at the meetings in which the
17    BY MR. CHENERY:                                        17    340B funding was discussed?
18    Q.· · ·So does any governmental entity transfer        18    A.· · ·The 340B discussion came up at several
19    funds to Methodist as part of the 340B drug pricing    19    meetings.· It came up at a series of meetings that
20    program?                                               20    was run by outside consultants, I think it was KPMG.
21    · · · · · · MR. VROON:· Object to the form.            21    It came up during negotiations and discussions about
22    · · · · · · THE WITNESS:· Well, the government or      22    renewing The West Clinic arrangement with the
23    third-party payers, which could include governments,   23    Methodist system.
24    pay for services that are related to chemotherapy.     24    Q.· · ·When were those meetings?
25    ///                                                    25    A.· · ·I don't recall the dates.· I think it was two



       Case 3:17-cv-00902 Document 399-6
                  Elite-Brentwood        Filed 06/02/23
                                   Reporting    ServicesPage 8 of 13 PageID #: 12960 121..124
                                                          * (615)595-0073
                            www.EliteReportingServices.com                                                                YVer1f
                                                    Volume 2

                                                Page 185                                                     Page 187
·1   A.· · ·I do not.                                       ·1   Q.· · ·And were you a member of this council?
·2   Q.· · ·It goes on to say, "Gary Sorb asked Jeff        ·2   A.· · ·Yes, I believe I was.
·3   Liebman to also provide input into any future design   ·3   Q.· · ·And did any West Clinic doctors serve on this
·4   or proposed program changes.· Dr. Schwartzberg         ·4   council?
·5   agreed to keep the committee updated."                 ·5   A.· · ·Well, they were members.· They didn't show up
·6   · · · ·Do you remember any followup about this         ·6   hardly ever.
·7   issue?                                                 ·7   Q.· · ·Do you see at the top the three columns of
·8   A.· · ·I remember followup that this was the, I        ·8   members present, bottom right column, Todd Tillmans,
·9   think the -- one of the small programs doing           ·9   with an X next to his name?
10    infusion therapy that could be used for 340B, that    10    A.· · ·Yeah, looks like he was at that one meeting.
11    there was some discussion or interest in putting it   11    Q.· · ·And my --
12    under The West -- The West Clinic.                    12    A.· · ·I'm sorry.· I'll go on to finish.· Kurt Tauer
13    Q.· · ·Was that still under University Hospital at    13    also, he was not present.· I won't go down the whole
14    this point?                                           14    list.· Jim West, I think, was an oncologist.· He's
15    A.· · ·It was.                                        15    not present.
16    Q.· · ·What is the Methodist University Hospital      16    · · · ·Anyway, I'm sorry.· What was your question?
17    Senior Leadership Council?                            17    Q.· · ·I think the fifth page of the document, it's
18    A.· · ·The Methodist University Hospital Leadership   18    the page -- the number in the bottom right-hand
19    Council?· I'm sorry, is that on this page?· I'm       19    corner ends in 617.
20    missing it.                                           20    A.· · ·617.· There you go -- I think I went too far.
21    Q.· · ·No, I'm sorry.· I'm moving on from that        21    617.· Yeah, I see that page.
22    document.                                             22    Q.· · ·Do you see the third entry down, Dr. Todd
23    A.· · ·Oh, I'm sorry, okay.                           23    Tillmans shared an update related to Gyn-On services
24    · · · ·Well, there is -- well, there are several      24    at University Hospital?
25    committees, though I don't remember specific names    25    A.· · ·I see that.


                                                Page 186                                                     Page 188
·1   of them.· We had one group including all department    ·1   · · · · · · MR. CHENERY:· Paige, could you share
·2   managers and above that had a title.· We had           ·2   Tab 18, please.
·3   another group that were my direct reports.· There      ·3   · · · · · · THE VIDEOGRAPHER:· Tab 18 has been
·4   was also another group of physicians, sort of a        ·4   shared and that will be Exhibit 272.
·5   medical executive committee, that would meet from      ·5   · · · · · · (Whereupon, Exhibit 272 was marked.)
·6   time to time.                                          ·6   (Reviewing.)
·7   · · · ·I don't know which one -- I don't remember      ·7   · · · · · · THE WITNESS:· (Reviewing.)
·8   the titles of the individual meetings, but there       ·8   · · · · · · Okay.
·9   were several groups like that.                         ·9   BY MR. CHENERY:
10    · · · · · · MR. CHENERY:· Paige, could you share      10    Q.· · ·Do you see the subject is "Canceled:· Biwkly
11    Tab 13, please.                                       11    Update:· Mounce/Liebman"?
12    · · · · · · THE VIDEOGRAPHER:· Tab 13 has been        12    A.· · ·I do.
13    shared and this will be Exhibit 271.                  13    Q.· · ·What does that -- does biweekly updates refer
14    · · · · · · (Whereupon, Exhibit 271 was marked.)      14    to?
15    · · · · · · THE WITNESS:· (Reviewing.)                15    A.· · ·Every other week or so we would have
16    · · · · · · Okay.                                     16    breakfast together, but we realized that we were
17    BY MR. CHENERY:                                       17    being redundant and it was being done in different
18    Q.· · ·You mentioned a number of committees.· Does    18    committee work that he would invite me to from time
19    this refresh your recollection at all about the       19    to time.· There was not much -- there wasn't
20    Methodist University Hospital - Senior Leadership     20    anything to talk about since there were no real
21    Council?                                              21    programs going on at Methodist University Hospital
22    A.· · ·So this -- I don't remember the name, but      22    that related to The West Clinic.
23    this was a group that was primarily of physician      23    Q.· · ·Did that change to a monthly update?
24    members.· It was a mix of physician members and       24    A.· · ·I don't remember.
25    administrative staff.                                 25    · · · · · · MR. CHENERY:· Paige, could you share



       Case 3:17-cv-00902 Document 399-6
                  Elite-Brentwood        Filed 06/02/23
                                   Reporting    ServicesPage 9 of 13 PageID #: 12961 185..188
                                                          * (615)595-0073
                            www.EliteReportingServices.com                                                               YVer1f
                                                     Volume 2

                                                 Page 189                                                     Page 191
·1   Tab 19, please?                                         ·1   University Hospital, to be clear.· I wouldn't
·2   · · · · · · THE VIDEOGRAPHER:· Tab 19 has been          ·2   necessarily know about the rest of their system.· So
·3   shared and that will be Exhibit 273.                    ·3   is that your question?
·4   · · · · · · (Whereupon, Exhibit 273 was marked.)        ·4   Q.· · ·I'm just asking for your knowledge.· Are you
·5   · · · · · · THE WITNESS:· (Reviewing.)                  ·5   aware of West Clinic doctors being involved in
·6   · · · · · · Okay, I see it.                             ·6   recruiting physicians to Methodist?
·7   BY MR. CHENERY:                                         ·7   A.· · ·I'm trying to get a clear picture of which
·8   Q.· · ·Do you see the subject is "Accepted:· Erich      ·8   Methodist you mean, the whole system --
·9   Mounce Monthly Update"?                                 ·9   Q.· · ·Any Methodist.
10    A.· · ·Yeah.                                           10    A.· · ·Excuse me?
11    Q.· · ·Sent to Jeff Liebman and Erich Mounce,          11    Q.· · ·Any Methodist --
12    correct?                                               12    A.· · ·Any --
13    A.· · ·Yes.                                            13    Q.· · ·-- recruiting doctors at all.
14    Q.· · ·Do you know what the subject of these monthly   14    A.· · ·Oh, well, I know that when we recruited one
15    updates was?                                           15    or two doctors that one or -- one or two of them
16    A.· · ·I don't remember.· I note it says, "After       16    might have been included on -- on the list of people
17    Strategy Retreat Meeting," but I don't remember        17    who got to interview potential candidates.
18    what -- what particular meeting that was.              18    Q.· · ·What was the Pathology Task Force and Search
19    Q.· · ·Did you work with Dr. Matthew Ballow during     19    Committee?
20    your time at Methodist?                                20    A.· · ·I think the -- from what I recall, the
21    A.· · ·I did.                                          21    pathology group was having some troubles, and they
22    Q.· · ·How often would you say you worked with         22    were -- wasn't sure if the group was going to
23    Dr. Ballow after he entered the cancer center?         23    survive.· So they needed some help trying to
24    A.· · ·Dr. Ballow started at Methodist University      24    reorganize.
25    Hospital where I would meet with him more              25    Q.· · ·Did Dr. Schwartzberg chair the Pathology


                                                 Page 190                                                     Page 192
·1   frequently.· And then he was moved out to               ·1   Search Committee?
·2   Germantown.· And after that I hardly ever met with      ·2   A.· · ·I don't remember who chaired the committee
·3   him.· When he was at Methodist University Hospital I    ·3   but I think he was on the committee.
·4   was meeting with him on a regular basis.                ·4   · · · · · · MR. CHENERY:· Paige, could you share
·5   Q.· · ·Was he head of the radiation oncology            ·5   Tab 28, please.
·6   program?                                                ·6   · · · · · · THE VIDEOGRAPHER:· Tab 28 has been
·7   A.· · ·At Methodist University Hospital he was.         ·7   shared and it will be Exhibit 274.
·8   Q.· · ·What do you remember discussing with him at      ·8   · · · · · · (Whereupon, Exhibit 274 was marked.)
·9   your meetings?                                          ·9   · · · · · · THE WITNESS:· (Reviewing.)
10    A.· · ·Well, it was a variety of things, had to do     10    · · · · · · Okay, I see it.
11    with everything from radiation therapy through         11    BY MR. CHENERY:
12    cancer center activities through, I don't know,        12    Q.· · ·See the subject, "Pathology Chair Search
13    different things like that.                            13    Committee" at the top?
14    · · · ·When I started meeting with him, I think --     14    A.· · ·2015?· Yeah.
15    I don't know, maybe I have it wrong.· I don't know     15    Q.· · ·And in the body, "Please RSVP to this meeting
16    if he was a West -- a West Clinic -- a West Cancer     16    request for the first meeting of the Pathology Chair
17    Center employee or a University of Tennessee           17    Search Committee chaired by Drs. Jon McCullers and
18    employee.                                              18    Dr. Lee Schwartzberg."
19    Q.· · ·During your time at Methodist, were West        19    · · · ·Does that refresh your recollection whether
20    Clinic doctors involved in recruiting physicians to    20    Dr. Schwartzberg chaired the Pathology Chair Search
21    Methodist?                                             21    Committee?
22    A.· · ·The Methodist University Hospital.              22    A.· · ·Only to the extent that it's written here.
23    Q.· · ·Were you aware of West Clinic doctors just      23    Q.· · ·Did Methodist have a bone marrow transplant
24    recruiting positions at all to Methodist?              24    program when you started as president of University
25    A.· · ·I -- well, again, I only know about Methodist   25    Hospital?



      Case 3:17-cv-00902 Document 399-6
                 Elite-Brentwood        Filed 06/02/23
                                   Reporting   ServicesPage 10 of 13 PageID #: 12962189..192
                                                         * (615)595-0073
                            www.EliteReportingServices.com                                                                YVer1f
                                                     Volume 2

                                                 Page 193                                                     Page 195
·1   A.· · ·So I started nine years ago, and they had a      ·1   when he was a candidate?
·2   transplant program that was on again, off again, on     ·2   A.· · ·I remember interviewing Dr. Khaled.· I don't
·3   again.· So I don't remember at the moment I started     ·3   necessarily remember this dinner meeting.· I'm
·4   whether or not it was on or off at that particular      ·4   looking at the list, so on there is Dr. Stern,
·5   month or time.                                          ·5   Dr. Reed, who's a cardiologist, Dr. -- Gary Shorb,
·6   Q.· · ·When it was on, where do you remember it         ·6   Erich Mounce.· Looks like a multidisciplinary group
·7   being located?                                          ·7   that had dinner with him.
·8   A.· · ·We had a -- with -- a bone marrow transplant     ·8   Q.· · ·Do you see Lee Schwartzberg and Michael
·9   has to have a certain number of isolation beds.· So     ·9   Martin as part of that group?
10    it would have been in one of the wings of the          10    A.· · ·Yeah, I do.· I do.
11    hospital.                                              11    Q.· · ·Are those West Clinic doctors?
12    Q.· · ·That would have been at University Hospital?    12    A.· · ·Dr. Schwartzberg, yes.· I think Dr. Martin is
13    A.· · ·Correct, the admission side, yes.               13    a yes too.
14    Q.· · ·Who ran or was head of the bone marrow          14    Q.· · ·Do you recall whether Dr. Khaled's
15    transplant program?                                    15    recruitment was successful?
16    A.· · ·I don't remember the doctor's name.             16    A.· · ·I think Dr. Khaled ended up coming to work at
17    Q.· · ·Do you remember Dr. Yasser Khaled?              17    Methodist University Hospital.
18    A.· · ·I remember the name.· It might have been him.   18    Q.· · ·And did Dr. Khaled eventually run the bone
19    Q.· · ·Do you remember Dr. Khaled being recruited to   19    marrow transplant program at University Hospital?
20    run the bone marrow transplant program?                20    A.· · ·He was the only bone marrow -- certified bone
21    A.· · ·I remember that he was recruited to, yeah, to   21    marrow therapy transplanter that was there.
22    run the program.· I don't remember when he was         22    Q.· · ·Do you know if the bone marrow transplant
23    recruited.                                             23    program achieved any certifications during
24    Q.· · ·Do you remember West Clinic doctors being       24    Methodist's affiliation with West?
25    involved in Dr. Khaled's recruitment?                  25    A.· · ·I don't remember.


                                                 Page 194                                                     Page 196
·1   A.· · ·I don't recall who was involved, but that        ·1   Q.· · ·Do you know what FACT, F-A-C-T, certification
·2   would have been appropriate.                            ·2   is, Foundation for the Accreditation of Cellular
·3   Q.· · ·Why would that have been appropriate?            ·3   Therapy?
·4   A.· · ·Well, bone marrow therapy is a -- you know,      ·4   A.· · ·Yeah, FACT certification, I do know what that
·5   most of those patients are considered to be similar     ·5   is.
·6   to cancer patients.                                     ·6   Q.· · ·Do you know the process for achieving FACT
·7   · · · · · · MR. CHENERY:· Paige, could you share        ·7   certification?
·8   Tab 33, please?                                         ·8   A.· · ·FACT certification is usually done in a
·9   · · · · · · THE VIDEOGRAPHER:· Tab 33 has been          ·9   collaborative manner with blood banking as well as
10    shared and will be Exhibit 275.                        10    with various subspecialties, including pathology.
11    · · · · · · (Whereupon, Exhibit 275 was marked.)       11    Q.· · ·Were there plans to expand the campus at
12    · · · · · · THE WITNESS:· (Reviewing.)                 12    Methodist University Hospital while you were there?
13    · · · · · · Okay.· I see the indication.               13    A.· · ·Yes.
14    BY MR. CHENERY:                                        14    Q.· · ·Were West Clinic physicians involved in the
15    Q.· · ·You see the subject is "Dinner with             15    planning process for that expansion?
16    Dr. Yasser Khaled, BMT candidate"?                     16    A.· · ·Well, let me be clear about defining
17    A.· · ·I do.                                           17    "expansion."
18    Q.· · ·And then in the body of the email you see,      18    · · · ·The --· the institution itself, because of
19    "Reservations under Dr. Lee Schwartzberg"?             19    the age of the buildings, were in dire need of new
20    A.· · ·I'm looking.· Where would that be?              20    space.· So there was plans for expanding -- well,
21    Q.· · ·Down -- I'm --                                  21    not expanding, but replacing some of the old beds
22    A.· · ·Oh, someone typed in, "Reservations under       22    and facilities and to move some of the older
23    Dr. Lee Schwartzberg."                                 23    clinics into a new building or tower that was going
24    Q.· · ·And you are a recipient of this email.· Do      24    to be built.
25    you recall attending this dinner with Dr. Khaled       25    Q.· · ·Do you know when Methodist began planning for



      Case 3:17-cv-00902 Document 399-6
                 Elite-Brentwood        Filed 06/02/23
                                   Reporting   ServicesPage 11 of 13 PageID #: 12963193..196
                                                         * (615)595-0073
                            www.EliteReportingServices.com                                                                YVer1f
                                                     Volume 2

                                                 Page 197                                                     Page 199
·1   that expansion?                                         ·1   BY MR. CHENERY:
·2   A.· · ·I don't know when they began planning, no.       ·2   Q.· · ·Mr. Liebman, when did you decide to file a
·3   · · · · · · MR. CHENERY:· Paige, could you share tab    ·3   lawsuit against Methodist and West?
·4   50, please.                                             ·4   A.· · ·I'm sorry, do you -- could you -- do you mean
·5   · · · · · · THE VIDEOGRAPHER:· Tab 50 has been          ·5   which day?
·6   shared and that will be Exhibit 276.                    ·6   Q.· · ·If you remember.
·7   · · · · · · (Whereupon, Exhibit 276 was marked.)        ·7   A.· · ·I don't remember which day.
·8   · · · · · · THE WITNESS:· (Reviewing.)                  ·8   Q.· · ·Do you remember a week?
·9   · · · · · · Okay I see it.                              ·9   A.· · ·No, I really don't.· You know, I -- I -- you
10    BY MR. CHENERY:                                        10    know, the date -- you showed me the date it was
11    Q.· · ·And the subject, "Forward MD Planning Session   11    filed.· I guess that's the date of filing.· But I
12    for Cancer Session with Architects (MUH Campus         12    don't remember which day or which week necessarily.
13    Expansion) Dinner Meeting."                            13    Q.· · ·That filing date we looked at was May 30th,
14    · · · ·Do you know what this MUH campus expansion      14    2017.· Do you recall approximately how long before
15    is referring to?                                       15    that date you decided to file your lawsuit?
16    A.· · ·Methodist University Hospital.                  16    A.· · ·I do not.
17    Q.· · ·And do you know what the campus expansion --    17    Q.· · ·Approximately how long before the lawsuit was
18    this would be dated April 11, 2016 -- what that        18    filed did you retain legal counsel to do so?
19    would be referring to?                                 19    A.· · ·I don't remember when I retained legal
20    A.· · ·Yeah, that was what I mentioned earlier, sort   20    counsel.· It was -- I know I was seeking advice in
21    of the new tower, so adding square footage but not     21    advance before I took any actions, but I don't
22    necessarily clinical square footage.                   22    remember which week or month or anything like that.
23    · · · ·Let me say also that that tower was -- the      23    Q.· · ·Do you remember if it was a month before or
24    design with the theory behind it predated me.· It      24    six months before or a year before?
25    was -- had to do with when they expanded the           25    A.· · ·I don't -- I don't know.· You know, I had


                                                 Page 198                                                     Page 200
·1   emergency room, they built it so that there could       ·1   concerns for a long time, had concerns that were
·2   be this expansion that would somehow go above it        ·2   brewing.· And all this information didn't come at
·3   and laterally, as I understood it.                      ·3   once; there were bits and pieces.· Some fell into
·4   · · · ·It was before my time, but that was what was     ·4   place because I had to plan space allocation and
·5   explained to me.                                        ·5   submit a business plan for the -- an occupation
·6   Q.· · ·And in the list of attendees in the body of      ·6   plan, if you will, for the new facility.· Some came
·7   the email, you're listed at the top as yes.· Do you     ·7   to me because I heard comments and, you know, things
·8   recall this meeting with the architects about the       ·8   that were told to me by the consultants, some
·9   expansion?                                              ·9   because I was sitting and listening to some of the
10    A.· · ·There were several meetings with the            10    conversations that went on with the physicians and
11    architects.· I don't recall this particular one.       11    their demands and their linking 340B to guarantee
12    Q.· · ·And did West Clinic physicians also attend      12    90 percent or higher income.
13    this meeting with the architects?                      13    · · · ·You know, all that is a while ago, so it's a
14    A.· · ·They did.· I believe they attended one          14    little bit of a collage for me.
15    meeting, the doctors.· That was this one.· I think     15    Q.· · ·Do you recall if you retained legal counsel
16    Erich Mounce attended more than that.                  16    before or after you received the January 2017 final
17    · · · · · · MR. CHENERY:· All right.· Why don't we     17    warning letter?
18    take another short break.· I'll see what else I        18    A.· · ·I don't remember.· Sorry.
19    have.                                                  19    Q.· · ·Other than conversations with your lawyers,
20    · · · · · · THE VIDEOGRAPHER:· We are off the          20    I'm not asking about that, did you discuss filing a
21    record.· The time is 12:51.                            21    lawsuit against Methodist with anyone before you
22    · · · · · · (Recess observed from 12:51 p.m. to        22    filed it?
23    1:19 p.m.)                                             23    A.· · ·No.
24    · · · · · · THE VIDEOGRAPHER:· We are on the record.   24    Q.· · ·Did you discuss filing a lawsuit against
25    The time is 1:19.                                      25    Methodist with any other lawyers other than those



      Case 3:17-cv-00902 Document 399-6
                 Elite-Brentwood        Filed 06/02/23
                                   Reporting   ServicesPage 12 of 13 PageID #: 12964197..200
                                                         * (615)595-0073
                            www.EliteReportingServices.com                                                                YVer1f
                                                                   Volume 2

                                                             Page 213                                                            Page 215
                                                                        ·1    · · · · · · · · · · ·E R R A T A
·1    · · · · · · MR. VROON:· We don't need that at this
                                                                        ·2    · · · · · I, JEFFREY LIEBMAN, having read the
·2    time.· I don't know if Taylor does.                               · · ·foregoing deposition, pages 89 through 214, taken
·3    · · · · · · MS. SWEET:· The United States also does               ·3    January 27, 2023, do hereby certify said testimony
·4    not need copies of anything.                                      · · ·is a true and accurate transcript, with the
·5    · · · · · · ·FURTHER DEPONENT SAITH NOT                           ·4    following corrections, if any:
·6    · · · · (Proceedings concluded at 1:41 p.m.)                      ·5    PAGE· · LINE· ·SHOULD HAVE BEEN

·7                                                                      ·6    _____· ·_____· _________________________________
                                                                        ·7    _____· ·_____· _________________________________
·8
                                                                        ·8    _____· ·_____· _________________________________
·9                                                                      ·9    _____· ·_____· _________________________________
10                                                                      10    _____· ·_____· _________________________________
11                                                                      11    _____· ·_____· _________________________________
12                                                                      12    _____· ·_____· _________________________________
13                                                                      13    _____· ·_____· _________________________________
                                                                        14    _____· ·_____· _________________________________
14
                                                                        15    _____· ·_____· _________________________________
15                                                                      16    _____· ·_____· _________________________________
16                                                                      17    _____· ·_____· _________________________________
17                                                                      18    _____· ·_____· _________________________________
18                                                                      19
19                                                                      20    · · · · · · · · · ______________________________
                                                                        21    · · · · · · · · · JEFFREY LIEBMAN
20
                                                                        22
21                                                                      · · ·________________________· · · ____________________
22                                                                      23
23                                                                      · · ·Notary Public· · · · · · · · ·My commission expires:
24                                                                      24
25                                                                      25



                                                             Page 214
·1    · · · · · · · ·REPORTER'S CERTIFICATE
·2
·3    STATE OF TENNESSEE
·4    COUNTY OF Davidson
·5
·6     · · · · · I, Terri Beckham, RMR, CRR, and licensed
·7     Court Reporter, with offices in Nashville,
·8     Tennessee, hereby certify that I reported the
·9     foregoing deposition of JEFFREY LIEBMAN by machine
10     shorthand to the best of my skills and abilities,
11     and thereafter the same was reduced to typewritten
12     form by me.· I am not related to any of the parties
13     named herein, nor their counsel, and have no
14     interest, financial or otherwise, in the outcome of
15     the proceedings.
16     · · · · · I further certify that in order for this
· ·   ·document to be considered a true and correct copy,
17     it must bear my original signature, and that any
· ·   ·unauthorized reproduction in whole or in part
18     and/or transfer of this document is not authorized,
· ·   ·will not be considered authentic, and will be in
19     violation of Tennessee Code Annotated 39-14-104,
· ·   ·Theft of Services.
20
21
· ·   ··   ·   ·   ·_________________________________
22     ·   ·   ·   ·Terri Beckham, RMR, CRR, LCR
· ·   ··   ·   ·   ·Elite-Brentwood Reporting Services
23     ·   ·   ·   ·Notary Public State of Tennessee
24     ·   ·   ·   ·My Notary Public Commission Expires 9/7/2026
· ·   ··   ·   ·   ·LCR 355 - Expires: 6/30/2024
25




           Case 3:17-cv-00902 Document 399-6
                      Elite-Brentwood        Filed 06/02/23
                                        Reporting   ServicesPage 13 of 13 PageID #: 12965213..215
                                                              * (615)595-0073
                                 www.EliteReportingServices.com
